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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 NATIONAL WILDLIFE FEDERATION,

        Plaintiff,                                           Case No. 17-10031

 vs.                                                         HON. MARK A. GOLDSMITH

 SECRETARY OF THE DEPARTMENT
 OF TRANSPORTATION, et al.,

       Defendants.
 ____________________________________/

                                          JUDGMENT

        Judgment is entered in accordance with the opinion and order entered on today’s date. It

 is ORDERED AND ADJUDGED that this case is REMANDED to the Pipeline and Hazardous

 Materials Safety Administration for further consideration consistent with the Court’s opinion.

        SO ORDERED.

                                                     DAVID J. WEAVER
                                                     CLERK OF THE COURT


                                              By:    s/Jennifer McCoy
                                                     DEPUTY COURT CLERK

 APPROVED:


 s/Mark A. Goldsmith
 MARK A. GOLDSMITH
 UNITED STATES DISTRICT JUDGE

 Dated: March 29, 2019
